           Case 1:19-cv-03150-FVS                  ECF No. 20        filed 07/08/20       PageID.2526 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                           FILED IN THE
                                                                   for the_                                 U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF WASHINGTON
                                                      Eastern District of Washington
                           JUSTIN B.,                                                                   Jul 08, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:19-CV-03150-FVS
       COMMISSIONER OF SOCIAL SECURITY,                              )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 14) is GRANTED, and the matter is REMANDED to the
’
              Commissioner for additional proceedings. Defendant’s Motion for Summary Judgment (ECF No. 16) is DENIED.
              Judgment is entered in favor of Plaintiff.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge               Stanley A. Bastian                                            on motions for
      Summary Judgment (ECF Nos. 14 and 16).


Date: 7/8/2020                                                             CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lennie Rasmussen
                                                                                          (By) Deputy Clerk

                                                                            Lennie Rasmussen
